                 Case 1:18-cr-00083-TSE Document 4 Filed 02/13/18 Page 1 of 2 PageID# 64

                                                                                                                                       II.S. District Court
CfImihial CateCovier Sheet                             filed:    REDAOTED


Pb«ofOffeM«                            0 Under Seal                                                        Judge Assigned:

                                       Superseding.Indictment                                              Criminal Nq.
City:

                                       Same Defendant:                                                     New Defendant
Goun^. Fairfax

                                       MagistrateJudge Case No.                                            Arraignment bate:

                                       Search Warrant Case Na                                              R.20/R.40From:

Defendant Infofmiation!

Defendant Name:        Paui j. Manafbrt,                         Alias(es):                                • Juvenile FBiNo.

Address:                                         IAlexandria,VAI

Employment

Birth Date;           1949      SSN:            1725            Sex:       MaliB         Race;    White/Caucasian      N'ationaiily:   American


Place of Birth:                      Height            Weight                  Hair:              Eyes:                Scars/Tattbds:


O Interpreter Language/Dialect: Engiisli                                               Auto Description:

Location/Status:


Arrest Date: 0ct30>2017                    P Already inFederal Custody asof:                                               in:


• Already inState Custody                  ^ 0h Pretrial Release                   gj Not inCustody

•     ArrestWarrantRequested               • Fugitive                              ^Summons Requested

•     An-estWarrant Pending                •   Detention Souglit                   ^ Bond
befenseCounSel ini^rmation:

 Name:       KevinM;Downing                                            • CourtAppointed              Counsel Corifllcts;

Addr^s: 6G1 NewJerseyAveNW, Suite620,Wash,:D.C 20001                   1^ Retalhed

Phone:       202-754-1992                                              •     Public Defender                               •     Federal Public Conflicted Out
        Attorney Information:

AUSA{s):        Gregb, Andres                                                      PJhbne: 202-616-0800                    BafNa

Complainant Agency - Address &Phone Nd.or Pfeirsdn &Tltle:

    Federal Bureau ofInvestigation
U^S.C. Citations:       Code/Section                     Offense Charged                                  Cburitjs)              Capital/Felonv/Misd^Petty

     Setl:          6U.S.C.§72p6{1)fl8y Subscribing toFalse United States |g|                    -145-                            Felony

     Set 2; .       31 U3.C §§5314^ncy          FailureTo,File Reports Oj^^reTgn 1^ ^^9 ^                                         Felony

     Date:                                     AUSASignature:
                                                                       mm                                                          may be continued on reverse
             Case 1:18-cr-00083-TSE Document 4 Filed 02/13/18 Page 2 of 2 PageID# 65

 District Court Case Number (to be filled by deputy clerk):
                                                                       Count(s)   CaDital/Felonv/H/lisd./Pettv
U.S.C Citations:      Code/Section              Offense Charged

  Set 3            18U.S.C §§1349an(jji   Bank Fraud Conspiracy   10               Felony


  Set 4            18U.S.C §§1344,2,gj    Bank Fraud              11               Felony


  sets             18U.S.C §§1349an<Jj    Bank Fraud Conspiracy   12               Felony


  Set 6            18U.S.C§§1344,2,g|     Bank Fraud              13               Felony


  Set 7            18U.S.C§§1349an^       Bank Fraud Conspiracy   14               Felony


  sets             18U.S.C§§1349an^       Bank Fraud Conspiracy   15               Felony


  Set 9            18U.S.C§§1344,2,gj     Bank Fraud              16               Felony


  Set 10           18U.S.C§§1349an^       Bank Fraud Conspiracy   17               Felony


  Set 11           18U.S.C §§1344,2,gjj   Bank Fraud              18               Felony


  Set 12


  Set 13


  Set 14


  Set 15


  Set 16


  Set 17


  Set 18


  Set 19:


  Set 20:


  Set 21


  Set 22:


  Set 23


  Set 24


  Set 25
